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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          EASTERN DIVISION


 VANESSA J. JONES, doing business              §                         PLAINTIFF
 as Jones Law Firm                             §
                                               §
                                               §
 v.                                            §       Civil No. 2:23cv3-HSO-BWR
                                               §
                                               §
 HIGH RISE FINANCIAL LLC and                   §
 MICHAEL MACKIE, Individually                  §                     DEFENDANTS

      MEMORANDUM OPINION AND ORDER DENYING PLAINTIFF’S
       MOTION [8] FOR EXTENSION OF TIME TO SERVE PROCESS,
      AND DISMISSING PLAINTIFF’S CLAIMS WITHOUT PREJUDICE
       PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4(m)

       BEFORE THE COURT is the Motion [8] for Extension of Time to Serve

Process filed on June 7, 2023, by Plaintiff Vanessa J. Jones, doing business as

Jones Law Firm.     After due consideration of the record and relevant legal

authority, the Court is of the opinion that Plaintiff’s Motion [8] should be denied,

and that, because Defendants have not been timely served with process despite the

Court’s prior extensions of Plaintiff’s deadline for doing so, Plaintiff’s claims against

Defendants should be dismissed without prejudice pursuant to Federal Rule of Civil

Procedure 4(m).

                                  I. BACKGROUND

       On January 6, 2023, Plaintiff Vanessa J. Jones, doing business as Jones Law

Firm (“Plaintiff” or “Jones”), filed the Complaint [1] in this case advancing claims

against Defendants High Rise Financial LLC (“High Rise”) and Michael Mackie,
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Individually (“Mackie”), for defamation and breach of arbitration agreement. See

Compl. [1] at 3-4.   According to the Complaint [1], Plaintiff and High Rise had

entered into an “Attorney Acknowledgment Contract” that contained an arbitration

agreement, which High Rise through its agent Mackie allegedly breached “by filing

a Complaint with the Mississippi Bar without first submitting the matter to

arbitration pursuant to its own contract.” Id. at 4. Plaintiff claims that she was

defamed when “false written statements were delivered by High Rise Financial

LLC’s agent Michael Mackie to The Mississippi Bar,” id. at 2, which were “intended

to injure Jones in her profession as an attorney,” id. at 4.

      On the same date that the Complaint was filed, Plaintiff caused a summons

to issue for High Rise and one for Mackie, both listing the same address in

Sacramento, California. See Summonses [2] at 1-2. When Plaintiff had not

returned any executed or unexecuted summonses 105 days later, on April 21, 2023,

the Magistrate Judge entered an Order [3] pursuant to Federal Rule of Civil

Procedure 4(m) stating that Plaintiff had “until May 12, 2023 to properly serve and

file proof of service upon Defendants. Otherwise, the claims against Defendants

may be dismissed without prejudice and without further notice to Plaintiff.” Order

[3] at 1 (emphasis in original).

      On May 10, 2023, Plaintiff filed Proofs of Service [5], [6], neither of which

were executed by any process server. See Proof [5] at 1; Proof [6] at 1. Receipts

and tracking information attached to the proofs indicated that someone had

attempted to serve High Rise and Mackie by serving Paracorp Incorporated, which


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was purportedly “designated by law to accept service of process on behalf of” High

Rise and Mackie, Proof [5] at 1; Proof [6] at 1, via “FedEx 2Day” service, Ex. [5-1] at

1, 2; Ex. [6-1] 1, 2. According to the receipts, the FedEx packages were shipped on

January 6, 2023, see Ex. [5-1] at 1; Ex. [6-1] at 1, the same date that the Complaint

had been filed, see Compl. [1].

       On May 16, 2023, the Magistrate Judge entered a Second Order [7] Setting

Deadline for Plaintiff to File Proof of Effective Service of Process. See Order [7].

He noted that 130 days had passed since the Complaint had been filed and that,

“while Plaintiff purports to have served Defendants, the summons returns [5][6]

indicate ineffective service.” Id. at 1. The Magistrate Judge explained that

“Plaintiff’s attempted service on Defendants via Federal Express was neither proper

under the Federal Rules of Civil Procedure, Mississippi Rules of Civil Procedure,

nor California law,” id. at 2 (collecting cases), and that Plaintiff’s Proofs of Service

[5], [6] did not comply with Rule 4 because they were not signed by the process

server, see id. at 1 (citing Fed. R. Civ. P. 4(l)(1)). Even though Plaintiff had

previously been granted an extension of time to serve Defendants, the Magistrate

Judge afforded her a second extension to effectuate proper service, warning that if

Plaintiff “fails to meet the second extended deadline of June 6, 2023 for

effectuating service of process, this case will be postured for dismissal without

prejudice under Federal Rule of Civil Procedure 4(m) and without further notice to

Plaintiff for failure to timely effectuate service of process.” Id. at 2 (emphasis in

original).


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      Plaintiff did not seek reconsideration of the Magistrate Judge’s Order [7] or

otherwise file anything in the record by the June 6, 2023, deadline. Instead, one

day after the deadline, on June 7, 2023, she filed the present Motion [8] for

Extension of Time to Serve Process. See Mot. [8]. Plaintiff makes no attempt to

explain the belatedness of her request for another extension. See id.     In her one-

page Motion [8], she asserts:

      1.     That process has been effectuated on each defendant by
             furnishing a Complaint and Summons provided and delivered by
             FEDERAL EXPRESS.
      2.     That a Summons and Complaint has been mailed via the U.S.
             Postal Service to both defendants by CERTIFIED MAIL,
             RETURN RECEIPT REQUESTED and proof will be filed once it
             is received from the U.S. Postal Service.

Id. at 1. Plaintiff requests that “time to execute process be extended by 60 days

from the date of any Order which might be entered on this motion.” Id.

                                 II.   DISCUSSION

A.    Relevant legal standard

      Under Rule 4(m),

      [i]f a defendant is not served within 90 days after the complaint is filed,
      the court--on motion or on its own after notice to the plaintiff--must
      dismiss the action without prejudice against that defendant or order
      that service be made within a specified time. But if the plaintiff shows
      good cause for the failure, the court must extend the time for service for
      an appropriate period.

Fed. R. Civ. P. 4(m) (emphasis added).   The United States Court of Appeals for the

Fifth Circuit has held that “[p]roof of good cause requires at least as much as would

be required to show excusable neglect, as to which simple inadvertence or mistake

of counsel or ignorance of the rules usually does not suffice.” Thrasher v. City of

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Amarillo, 709 F.3d 509, 511 (5th Cir. 2013) (quotation omitted).    Moreover, “some

showing of good faith on the part of the party seeking an enlargement and some

reasonable basis for noncompliance within the time specified is normally required.”

Id. (quotation omitted).   Where a plaintiff lacks good cause, a court nevertheless

has discretion to extend the time for service. See id.

B.    Whether Plaintiff’s Motion [8] for Extension of Time to Serve Process should
      be granted

      As the Magistrate Judge determined, see Order [7] at 1-2, Plaintiff did not

properly serve Defendants within 90 days of filing the Complaint as required by

Rule 4(m), see Fed. R. Civ. P. 4(m).   After the Court twice granted sua sponte

extensions of time for Plaintiff to properly serve Defendants, she still did not comply

with the deadlines imposed by the Magistrate Judge. See id.; Order [3].       Instead,

one day after the latest deadline passed, see Order [7] at 2, Plaintiff filed a Motion

[8] seeking even more time to serve process, see Mot. [8] at 1.

      In support of her request, Plaintiff states that process had been made by

Federal Express, or “FedEx,” and that a Summons and a Complaint has now been

mailed via the United States Postal Service to both Defendants by certified mail,

return receipt requested, and that “proof will be filed once it is received.” Id.

With respect to Plaintiff’s purported service of process by FedEx, the Magistrate

Judge has already explained to Plaintiff that her “attempted service on Defendants

via Federal Express was neither proper under the Federal Rules of Civil Procedure,

Mississippi Rules of Civil Procedure, nor California law.”   Order [7] at 2 (collecting

cases).   However, even if service via FedEx were proper, Plaintiff has never filed a

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completed proof of service for either Defendant showing that such service was ever

actually effected.1

       Rule 4(e) permits service upon an individual by:

       (1)    following state law for serving a summons in an action brought in
              courts of general jurisdiction in the state where the district court
              is located or where service is made; or
       (2)    doing any of the following:
              (A)    delivering a copy of the summons and of the complaint to
                     the individual personally;
              (B)    leaving a copy of each at the individual’s dwelling or usual
                     place of abode with someone of suitable age and discretion
                     who resides there; or
              (C)    delivering a copy of each to an agent authorized by
                     appointment or by law to receive service of process.

Fed. R. Civ. P. 4(e) (emphasis added). For a domestic corporation such as High

Rise, it is properly served in a judicial district of the United States either:

       (A)    in the manner prescribed by Rule 4(e)(1) for serving an individual;
              or
       (B)    by delivering a copy of the summons and of the complaint to an
              officer, a managing or general agent, or any other agent
              authorized by appointment or by law to receive service of process
              and--if the agent is one authorized by statute and the statute so
              requires--by also mailing a copy of each to the defendant . . . .

Fed. R. Civ. P. 4(h)(1).

       Plaintiff asserts that she also served both Defendants by certified mail,

return receipt requested. See Mot. [8] at 1.        Mississippi Rule of Civil Procedure




1  While “[f]ailure to prove service does not affect the validity of service,” Fed. R. Civ. P.
4(l)(3), “proof of service must be made to the court” by a server’s affidavit, Fed. R. Civ. P.
4(l)(1). In the Proofs [5], [6] filed by Plaintiff, there is no indication who served the FedEx
packages. The server information is blank, and the Proofs are not dated or signed. See
Proof [5] at 1; Proof [6] at 2. Even if FedEx were found to be a proper method of service
permitted in this case, the Court would be unable to conclude that service was properly
effected as to either Defendant based upon the record here.
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4(c)(5) permits service

       on a person outside this state by sending a copy of the summons and of
       the complaint to the person to be served by certified mail, return receipt
       requested. Where the defendant is a natural person, the envelope
       containing the summons and complaint shall be marked “restricted
       delivery.” Service by this method shall be deemed complete as of the date
       of delivery as evidenced by the return receipt or by the returned
       envelope marked “Refused.”

Miss. R. Civ. P. 4(c)(5).2

       Although Mississippi Rule of Civil Procedure 4(c)(5) contemplates service of

Defendants outside the State of Mississippi by certified mail, return receipt

requested, see id., Plaintiff has not indicated when either Defendant was

purportedly served via that method, see Mot. [8].         Nor has she filed a new proof or

service, or ever filed any completed proofs of service, with the Court.         Instead,

Plaintiff ignored the Magistrate Judge’s June 6 deadline contained in his Second

Order [7] Setting Deadline for Plaintiff to File Proof of Effective Service of Process.

See Order [7].

       Based upon the current record and Plaintiff’s inaction and dilatoriness, the



2  The California Code of Civil Procedure contains a provision for service upon a person
outside of that state via mail. See Cal. Civ. Proc. Code § 415.40; see id. § 415.40 cmt (“Both
registered and certified airmail, return receipt requested, meet this requirement.”). That
section is not relevant here, as it appears Plaintiff’s attempted service upon both
Defendants has been within the State of California. See Proof [5]; Proof [6]; see also, e.g.,
Cal. Civ. Proc. Code § 415.10 cmt. (“Service by registered or certified airmail may be used to
effectuate service only on a person outside this state.” (citing Cal. Civ. Proc. Code § 415.40)).
For in-state service by mail in California, the person to whom the summons and the
complaint are mailed must complete an acknowledgement form and return it to the sender
in order for service to be deemed complete. See Cal. Civ. Proc. Code § 415.30; see also Miss.
R. Civ. P. 4(c)(3) (similar mail provision requiring return of acknowledgement form).
There is no indication that Plaintiff has mailed either Defendant an acknowledgement form
with the summons and Complaint, or that either Defendant returned such form. But see
Cal. Civ. Proc. Code § 415.30.
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Court cannot conclude Plaintiff has shown good cause for her failure to timely effect

service of process, nor does it find that yet another extension of the deadline is

warranted. See Fed. R. Civ. P. 4(m); Thrasher, 709 F.3d at 511.

C.    Whether Plaintiff’s claims should be dismissed under Rule 4(m)

       “The plaintiff is responsible for having the summons and complaint served

within the time allowed by Rule 4(m) . . . .” Fed. R. Civ. P. 4(c)(1).   This case has

been pending for 158 days, and no Defendant has yet been properly served. See

Fed. R. Civ. P. 4; Compl. [1]. Although the Magistrate Judge has twice afforded

Plaintiff additional time to serve Defendants under Rule 4(m), she let the latest

deadline lapse before belatedly seeking additional time.    See Order [3]; Order [7];

see also Mot. [8] (filed one day after the June 6, 2023, deadline).   Plaintiff, who is a

licensed attorney representing herself in this case, received notice that she had not

timely served Defendants, and she has not shown good cause for a further

extension. See Order [3]; Order [7]; Mot. [8]. Dismissal under Rule 4(m) is

therefore warranted. See Fed. R. Civ. P. 4(m).

                                 III. CONCLUSION

      IT IS, THEREFORE, ORDERED AND ADJUDGED, that the Motion [8]

for Extension of Time to Serve Process filed on June 7, 2023, by Plaintiff Vanessa J.

Jones, doing business as Jones Law Firm, is DENIED.

      IT IS, FURTHER, ORDERED AND ADJUDGED, that the claims of

Plaintiff Vanessa J. Jones, doing business as Jones Law Firm, against Defendants




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High Rise Financial LLC and Michael Mackie, Individually, are DISMISSED

WITHOUT PREJUDICE pursuant to Federal Rule of Civil Procedure 4(m).

     SO ORDERED AND ADJUDGED, this the 14th day of June, 2023.


                                   s/ Halil Suleyman Ozerden
                                   HALIL SULEYMAN OZERDEN
                                   UNITED STATES DISTRICT JUDGE




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